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                                               SAMUEL R. MAIZEL (SBN 189301)
                                           2   TANIA M. MOYRON (SBN 235736)
                                               ARTHUR H. RUEGGER (Admitted Pro Hac Vice)               FILED & ENTERED
                                           3   DENTONS US LLP
                                               601 South Figueroa Street, Suite 2500
                                           4   Los Angeles, California 90017-5704                          APR 23 2018
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                                           5   Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
                                                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                              Central District of California
                                           6   ANDREW T. SOLOMON (Admitted Pro Hac Vice)                      BY Ogier      DEPUTY CLERK
                                               SOLOMON & CRAMER LLP
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                                               New York, NY 10018                                      CHANGES MADE BY COURT
                                           8   Tel: (212) 884-9102
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                                           9
                                               Attorneys for Trustee and Trust Board
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                                                         UNITED STATES BANKRUPTCY COURT
                                          11                                CENTRAL DISTRICT OF CALIFORNIA
                                                                            SAN FERNANDO VALLEY DIVISION
         DENTONS US LLP




                                          12
            (213) 623-9300




                                               In re:                                             Lead Case No.: 1:17-bk-12408-MB
                                          13                                                      Jointly administered with:
                                               ICPW Liquidation Corporation, a California         1:17-bk-12409-MB Chapter 11 Cases
                                          14   corporation,1
                                                             Debtor and Debtor in Possession. ORDER APPROVING STIPULATION ON
                                          15                                                  MOTION TO ESTIMATE CLAIMS NOS.
                                                                                              7 AND 8 FILED BY JEFFREY CORDES
                                          16   In re:                                         AND WILLIAM AISENBERG
                                                                                              PURSUANT TO 11 U.S.C. § 502(c)
                                          17   ICPW Liquidation Corporation, a Nevada
                                               corporation,2                                  DATE:     April 8 10, 2018
                                          18                 Debtor and Debtor in Possession. TIME:     1:30 p.m.
                                                                                              PLACE:    Courtroom “303”
                                          19                                                            21041 Burbank Boulevard
                                                  Affects:                                              Woodland Hills, California 91367
                                          20
                                                     Both Debtors
                                          21
                                                     ICPW Liquidation Corporation, a California
                                          22         corporation
                                          23         ICPW Liquidation Corporation, a Nevada
                                                     corporation
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                                                   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                          28   2
                                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.



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                                           1                The Court, having read and considered that certain Stipulation On Motion To Estimate

                                           2    Claims Nos. 7 And 8 Filed By Jeffrey Cordes And William Aisenberg Pursuant To 11 U.S.C.

                                           3    § 502(C) (the “Stipulation”) [Docket No. 551] between Matthew Pliskin, the trustee under the

                                           4    trust created pursuant to the Debtors and Official Committee of Equity Security Holders Joint

                                           5    Plan of Liquidation Dated February 9, 2018 (the “Plan”), and that certain trust agreement dated

                                           6    as of February 28, 2018, QBE Insurance Corporation, Jeffrey Cordes and William M. Aisenberg,

                                           7    with good cause appearing, orders as follows:

                                           8                1.     The Stipulation is approved;3

                                           9                2.     The Trustee shall reserve $546,313.50 in accordance with the Plan; and

                                          10                3.     The Motion is denied as moot.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11                IT IS SO ORDERED.
         DENTONS US LLP




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            (213) 623-9300




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                                               Date: April 23, 2018
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                                          27     The Court notes that the terms of the Stipulation were stated on the record at the scheduled
                                                hearing on April 10, 2018, at 1:30 p.m. (the Stipulation erroneously lists a hearing date of
                                          28    "April 8" in the caption and "August 8" in paragraph 7).
                                                                                                   -2-

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